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11    LASANDRA PRICE
12
                             UNITED STATES DISTRICT COURT
13
                            CENTRAL DISTRICT OF CALIFORNIA
14
15    LASANDRA PRICE, an individual,          Case No.
16
               Plaintiff,
17
          v.
18                                              COMPLAINT FOR VIOLATIONS
      FONTANA CAPITAL LLC, a California OF: AMERICANS WITH
19
      limited liability company; and Does 1-10, DISABILITIES ACT OF 1990, 42
20                                              U.S.C. § 12181, et seq.; UNRUH
               Defendants.                      CIVIL RIGHTS ACT, CALIFORNIA
21                                              CIVIL CODE § 51, et seq.
22
23                                            DEMAND FOR JURY TRIAL

24
25
26
27
28

                                       COMPLAINT
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 1          Plaintiff LaSandra Price (hereinafter referred to as “Plaintiff”) complains of
 2
      Defendant Fontana Capital LLC, a California limited liability company; and Does
 3
 4    1-10 (each, individually a “Defendant,” and collectively “Defendants”), and alleges

 5    as follows:
 6
                                         I.     PARTIES
 7
 8          1.      Plaintiff LaSandra Price suffers from Parkinson’s Disease. She has
 9    trouble walking and standing. She shakes. She is physically weak. She uses a
10
      wheelchair to get around. Plaintiff is a disabled person entitled to the protections of
11
12    the California Unruh Civil Rights Act (UCRA) (see Cal. Civ. Code §§ 51, et seq.,
13    52, et seq.), the Americans with Disabilities Act (ADA) (see 42 U.S.C. § 12102, et
14
      seq.), and other statutory laws which protect the rights of “disabled persons.”
15
16    Plaintiff has been issued permanent Disabled Person License Plates, as well as a
17    blue permanent Disabled Person Parking Placard, by the State of California.
18
      Plaintiff is a California resident with physical disabilities.
19
20          2.      Defendant Fontana Capital LLC, a California limited liability
21    company, owned the property (the “Property”), located at 13677 Foothill Blvd.
22
      #B1, Fontana, CA 92335.
23
24          3.      There is a business establishment on the Property named “A & J
25
      Liquor Mart,” and there is another business establishment on the Property named
26
      “Papa John’s Pizza,” located at 13655 Foothill Blvd., Fontana, CA 92335
27
28
                                            2
                                        COMPLAINT
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 1    (hereinafter, “the businesses”).
 2
            4.     The businesses are public accommodations as defined by 42 U.S.C. §
 3
 4    12181(7).

 5          5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 6
      owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
 7
 8    corporate officers, managers, principles, and/or representatives of Defendants.
 9    Plaintiff is unaware of the true names and capacities of Defendants sued herein as
10
      DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
11
12    names. Plaintiff requests that the Court grant leave to amend this complaint to
13    allege the true names and capacities when determined by whatever source.
14
            6.     Defendants, at all relevant times, were relevant to this action; were the
15
16    owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
17    agents, affiliates, employees, employers, representative partners, subsidiaries,
18
      partner companies, and/or joint venturers of the remaining Defendants; and were
19
20    acting within the course and scope of that relationship. Upon information and
21
      belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
22
      authorized the acts alleged of each of the remaining Defendants.
23
24          7.     Plaintiff visited the public accommodations owned, leased, and/or
25
      operated by Defendants with the intent to purchase and/or use the goods, services,
26
      facilities, privileges, advantages, and/or accommodations offered by Defendants.
27
28
                                             3
                                         COMPLAINT
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 1                              II.    JURISDICTION & VENUE
 2           8.     This Court has subject matter jurisdiction over this action pursuant to
 3
      28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
 4
 5           9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 6    action, arising from the same nucleus of operative facts, and arising out of the same
 7
      transactions, is also brought under the UCRA, which expressly incorporates the
 8
 9    ADA.
10
             10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
11
      the real property which is the subject of this action is located in this district, and
12
13    Plaintiff’s cause of action arose in this district.
14
                                            III.   FACTS
15
             11.    The Property is a facility which is open to the public and includes
16
17    business establishments.
18
             12.    The Property has been newly constructed and/or underwent
19
      remodeling, repairs, or alterations since 1992. Defendants have failed to comply
20
21    with California access standards which applied at the time of each new construction
22
      and/or alteration, and/or failed to maintain accessible features in operable working
23
      condition.
24
25           13.    Plaintiff visited the Property during the relevant statutory period on
26
      three (3) separate occasions, in November 2020 and December 2020 to patronize
27
28
      the business on the Property. She used her wheelchair during all of her visits.
                                             4
                                         COMPLAINT
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 1          14.    Defendants did not offer persons with disabilities with equivalent
 2
      facilities, privileges, and advantages offered by Defendants to other patrons.
 3
 4          15.    Plaintiff encountered barriers, both physical and intangible, that

 5    interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
 6
      privileges, and/or accommodations offered at the Property.
 7
 8          16.    Parking is one of the facilities, privileges, and advantages offered by
 9    Defendants to patrons of the Property.
10
            17.    However, there was no accessible parking for disabled patrons at the
11
12    Property. The parking space designated for disabled persons did not comply with
13    the ADA.
14
            18.    The parking area did not comply with the latest California Building
15
16    Code (CBC).
17          19.    When Plaintiff visited the Property, she experienced access barriers
18
      related to parking, signage, paths of travel, and interior space.
19
20          20.    Plaintiff encountered the following barriers, conditions, and/or
21
      violations at the Property:
22
            This Property is not accessible to Plaintiff and has a great number of
23
24          violations. There are major accessibility issues with the designated
25
            disabled parking spaces and the adjacent loading/unloading access
26
            aisles. These spaces have been neglected and cannot be recognized due to
27
28
                                           5
                                       COMPLAINT
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 1          the extremely faded paint and non-complaint signs. The parking spaces
 2
            and access aisles also present risks for Plaintiff as there are many slopes
 3
 4          and pavement distresses. It is dangerous for Plaintiff to use the path of

 5          travel to enter the businesses because there are many slopes, cracks, and
 6
            uneven ground surfaces. There are other inaccessible elements on this
 7
 8          Property such as non-complaint interior space and non-compliant ADA
 9          signage.
10
11
12          VIOLATION of 2010 CBC § 1114B.1.2; 1991 ADAS § 4.3.2(1). (Exterior
13          route of travel.) An accessible route of travel is not provided to all entrances
14
            and portions of the building, and/or between the building and a public way.
15
16          Plaintiff, a wheelchair user, needs a dedicated path of travel, free of
17          obstructions and vehicles, where (on which) she can operate her wheelchair.
18
            It is dangerous for Plaintiff to navigate in a wheelchair without a safe,
19
20          protected, accessible route of travel; thus, the violation interferes with
21          Plaintiff’s ability to fully access the premises.
22
23
24          VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
25
            There is no accessible path of travel into the building entrances. There is no
26
            safe way for Plaintiff to travel from the parking area to the entrance of the
27
28
                                           6
                                       COMPLAINT
     Case 2:21-cv-00889 Document 1 Filed 01/29/21 Page 7 of 28 Page ID #:7



 1          Property.
 2
 3
 4          VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).

 5          (Directional signage.) There is no directional signage showing an accessible
 6
            path of travel. Plaintiff, a wheelchair user, faces an increased risk of injury if
 7
 8          she is required to travel in the path of vehicles because it is more difficult for
 9          drivers to see her, and she cannot quickly move out of the way of an
10
            oncoming vehicle. Thus, she requires clear signage directing her to a safe
11
12          path away from other vehicles.
13
14
15          VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
16
            sign – towed vehicle information.) The tow away sign (white sign stating
17
18          that “UNAUTHORIZED VEHICLES PARKED IN DESIGNATED
19          ACCESSIBLE SPACES … WILL BE TOWED AWAY”) does not state the
20
            required information regarding the tow company and telephone number. The
21
22          blank spaces of the tow-away sign have not been filled in. Plaintiff must use
23          the designated disabled parking space, and requires the proper protections of
24
            an access aisle and an accessible route of travel to safely access the Property.
25
26          Clear signage that explicitly warns of the consequences for improperly
27
            parking in the designated disabled parking space will deter others without
28
                                           7
                                       COMPLAINT
     Case 2:21-cv-00889 Document 1 Filed 01/29/21 Page 8 of 28 Page ID #:8



 1          disabilities from parking there.
 2
 3
 4          VIOLATION of 2010 CBC 1129B.4; (Off-Street Unauthorized Parking

 5          Sign – Size of Sign). The Unauthorized Parking Towed Vehicle sign must be
 6
            a minimum size of 17” by 22”.
 7
 8
 9          VIOLATION of 2010 ADAS § 403.3. (Path of travel – cross slope.) The
10
            cross slope of the accessible path of travel is greater than two percent (2%).
11
12          Plaintiff, who uses a wheelchair, has difficulty navigating her mobility device
13          on excess slopes.
14
15
16          VIOLATION of 2010 CBC § 1129B.3; 1991 ADAS § 4.6.3; 2010 ADAS §
17          502.2. (Faded paint – accessible parking space lines.) The paint used for the
18
            designated disabled parking space is so worn and aged that it cannot (can
19
20          hardly) be seen. This makes it unclear where the actual parking space is, and
21          makes it difficult for Plaintiff to park in the designated space. As a
22
            wheelchair user, Plaintiff needs to be able to park in the designated disabled
23
24          parking space, which should be located closest to the entrance and linked to
25
            an accessible route of travel, because it is more difficult for her, as opposed
26
            to individuals who do not use wheelchairs, to maneuver about the Property.
27
28
                                          8
                                      COMPLAINT
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 1
 2
 3
 4          VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of

 5          parking space.) The designated disabled parking space measures less than
 6
            nine feet (9’) wide, which makes it difficult for Plaintiff to park in the
 7
 8          designated space. As a wheelchair user, Plaintiff needs to be able to park in
 9          the designated disabled parking space, which should be located closest to the
10
            entrance and linked to an accessible route of travel, because it is more
11
12          difficult for her, as opposed to individuals who do not use wheelchairs, to
13          maneuver about the Property.
14
15
16          VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
17          parking space.) The designated disabled parking space measures less than
18
            eighteen feet (18’) long, which makes it difficult for Plaintiff to park in the
19
20          designated space. As a wheelchair user, Plaintiff needs to be able to park in
21          the designated disabled parking space, which should be located closest to the
22
            entrance and linked to an accessible route of travel, because it is more
23
24          difficult for her, as opposed to individuals who do not use wheelchairs, to
25
            maneuver about the Property.
26
27
28
                                           9
                                       COMPLAINT
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 1           VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt
 2
             changes in level.) The path of travel from the designated disabled parking
 3
 4           space has an uneven ground surface with changes in level exceeding one-half

 5           inch (1/2"). Plaintiff, a wheelchair user, cannot fully enjoy the premises
 6
             when such conditions are present. These excess changes in level pose risks
 7
 8           to Plaintiff, including that she may fall out of her wheelchair, and/or that her
 9           wheelchair may become trapped in an uneven surface.
10
11
12           VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
13           § 502.4. (Slope of parking space.) The designated disabled parking space
14
             has surface slopes in it that are greater than two percent (2%). Plaintiff, a
15
16           wheelchair user, cannot access the premises because it is not safe for her to
17           disembark from her vehicle onto a parking space surface with excess slopes.
18
19
20           VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
21           § 502.4. (Slope of adjacent access aisle.) The loading/unloading access aisle
22
             adjacent to the designated disabled parking space has surface slopes in it that
23
24           are greater than two percent (2%). Plaintiff, a wheelchair user, cannot access
25
             the premises because it is not safe for her to disembark from her vehicle onto
26
             a parking space and/or adjacent access aisle surface with excess slopes.
27
28
                                          10
                                       COMPLAINT
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 1
 2
 3
 4           VIOLATION of 1991 CBC § 1129B.4.2; 2010 CBC § 1129B.3; 2010

 5           ADAS § 4.6.3. (Length of adjacent access aisle.) The access aisle adjacent
 6
             to the designated disabled parking space is less than eighteen feet (18') long.
 7
 8           This makes it difficult for Plaintiff to use the adjacent access aisle to safely
 9           disembark from the car. Plaintiff requires adequate space to safely
10
             disembark from her car with her wheelchair.
11
12
13           VIOLATION of 1991 CBC § 1129B.4.2; 2010 CBC § 1129B.3; 2010
14
             ADAS § 4.6.3. (Width of adjacent access aisle.) The loading/ unloading
15
16           access aisle adjacent to the designated disabled parking space is less than five
17           feet (5') wide. This makes it difficult for Plaintiff to use the adjacent access
18
             aisle to safely disembark from the car. Plaintiff requires adequate space to
19
20           safely disembark from her car with her wheelchair.
21
22
             VIOLATION of 2010 CBC § 1129B.3.1; 1991 ADAS § 4.6.3; 2010 ADAS
23
24           § 502.3. (No loading/ unloading access aisle.) The loading/ unloading
25
             access aisle which is required to be adjacent to the designated disabled
26
             parking space is missing. There are a few barely visible lines, which may be
27
28
                                           11
                                        COMPLAINT
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 1           the remnants of a once painted access aisle. This makes it difficult for
 2
             Plaintiff to use the (barely visible) adjacent access aisle to safely disembark
 3
 4           from the car with her wheelchair, as Plaintiff requires sufficient space to

 5           safely disembark away from other vehicles. Also, when an access aisle is not
 6
             clearly painted, there is a greater chance that non-disabled individuals will
 7
 8           park in the access aisle, blocking Plaintiff’s use thereof.
 9
10
             VIOLATION of 2010 CBC § 1129B.4. (Surface signage.) The paint used for
11
12           the designated accessible parking spaces is faded and cannot be seen. There is
13           no compliant surface signage at the designated disabled parking space. The
14
             International Access Symbol is so faded and worn that it cannot be read. The
15
16           street surface (pavement) signage is unreadable because the paint has faded.
17
18
             VIOLATION of 2010 CBC § 1129B.3.1. (“NO PARKING” – ground
19
20           surface sign.) The words “NO PARKING” are fading and have been double
21           painted in the adjacent loading/unloading access aisles. As a result, non-
22
             disabled patrons park in the loading/unloading access aisles, blocking
23
24           Plaintiff from being able to use the access aisles. Cars and trucks park or
25
             block the access aisles because the paint is faded and difficult to read.
26
27
28
                                           12
                                        COMPLAINT
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 1           VIOLATION of 2010 CBC § 1129B.4; 1991 ADAS § 4.6.4. (Sign off-
 2
             center.) Although there are signs showing where the designated accessible
 3
 4           space parking is, they are not centered as required, but off to the side. The

 5           signs are posted away from the middle of the parking spaces, rather than
 6
             centered at the space as required. This makes it more difficult for people and
 7
 8           parking enforcement to determine which space is intended for the sole use of
 9           disabled persons.
10
11
12           VIOLATION 2010 CBC § 1129B.4. (Sign missing – $250 fine.) The sign
13           warning of the minimum $250 fine for unauthorized parking in the
14
             designated disabled parking space is missing entirely. Plaintiff, a wheelchair
15
16           user, must use the designated disabled parking space. Clear signage that
17           explicitly warns of the consequences of improperly parking in the designated
18
             disabled parking space will deter others without disabilities from parking
19
20           there.
21
22
             VIOLATION of 2010 CBC § 1129B.4; 1991 ADAS § 4.6.4. (Sign
23
24           obscured.) The designated disabled parking space has a disabled parking
25
             sign; however, it is obscured from being read because it is covered with
26
             adhesive stickers and graffiti. The sign is vandalized. This makes it difficult
27
28
                                          13
                                       COMPLAINT
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 1           for Plaintiff and other patrons to see and read the sign. Plaintiff must use the
 2
             designated disabled parking space, and requires the proper protections of an
 3
 4           access aisle and accessible route of travel to safely access the Property. Clear

 5           signage that distinctly marks the space as reserved for individuals with
 6
             disabilities will deter others without disabilities from parking there.
 7
 8
 9           VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent
10
             loading/unloading access aisle must adjoin an accessible route to an
11
12           accessible entrance. It does not. Plaintiff cannot access the Property safely
13           unless there is an access aisle onto which she can disembark from her vehicle
14
             with her wheelchair. The access aisle must lead to an accessible, protected
15
16           route, so that she can safely travel to and enter the business entrances.
17
18
             VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Changes in
19
20           level of ground surface.) Within the parking spaces reserved for disabled
21           patrons, the asphalt is uneven, with depressions, dips, divots, and uneven
22
             ground. There are sunken parts. There are cracked parts. This makes
23
24           travelling in this area difficult.
25
26
             VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Path from
27
28
                                            14
                                         COMPLAINT
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 1           parking – uneven surface.) The path of travel from the designated disabled
 2
             parking spaces to the entrance has damaged ground which is uneven. The
 3
 4           damaged ground has pavement distresses. Parts of the ground surface are not

 5           flush. The surface of the ground within the designated path of travel leading
 6
             into the entrance is not flat. This makes traveling in this area difficult. The
 7
 8           path of travel from the designated disabled parking spaces to the entrance
 9           runs into these pavement distresses which have caused changes in level
10
             greater than one-half inch, but no ramp is provided. These steep changes in
11
12           level create uneven surfaces. The types of pavement distresses which exist
13           include but are not limited to: alligator (fatigue) cracking, joint reflection
14
             cracking, potholes, asphalt bleeding, patching near utilities, block cracking,
15
16           raveling, stripping, corrugation and shoving, and depressions. These
17           pavement distresses are made worse and exacerbated by designs which do
18
             not follow the ADAAG. These areas should be fixed immediately because
19
20           they are also a tripping and falling hazard.
21
22
             VIOLATION of 2010 CBC § 1129B.3.1; 2010 ADAS § 502.6; ADAS §
23
24           4.6.3. (Marked path of travel.) There is no marked path of travel from the
25
             disabled parking space to the entrance. There is no safe way for Plaintiff to
26
             park there and then travel to the entrance of the Property. Plaintiff is forced
27
28
                                           15
                                        COMPLAINT
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 1           to travel a dangerous route.
 2
 3
 4           VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS §§ 4.3.7, 4.8.1; 2010

 5           ADAS § 403.3; 2016 CBC § 11B-403.3. (Ramps.) The accessible route of
 6
             travel has a slope greater than 1:20 (5%), but it is not a compliant ramp.
 7
 8           Plaintiff, who uses a wheelchair, has difficulty with her mobility device on
 9           slopes that are not compliant ramps.
10
11
12           VIOLATION of 2010 CBC § 1133B.5.2. (Minimum width of ramps.)
13           There is no compliant ramp with a width of forty-eight inches (48"). Plaintiff
14
             requires adequate space to navigate on sloped surfaces and/or ramps with her
15
16           wheelchair, and she cannot do so when the ramps are excessively narrow.
17
18
             VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Least
19
20           possible slope of ramp.) There is no compliant ramp, with the least possible
21           slope, leading into the businesses. The curb ramp exceeds the maximum
22
             running slope allowable. Plaintiff, who uses a wheelchair, has difficulty with
23
24           her mobility device on slopes that are not compliant ramps.
25
26
             VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Maximum
27
28
                                          16
                                       COMPLAINT
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 1           slope of ramp.) The slope of the curb ramp leading into the businesses is
 2
             greater than 8.33%. The curb ramp exceeds the maximum running slope
 3
 4           allowable. Plaintiff, who uses a wheelchair, has difficulty with her mobility

 5           device on slopes that are not compliant ramps.
 6
 7
 8           VIOLATION of 2010 CBC § 1133B.5.3.1; 2010 ADAS § 405.3; 1991
 9           ADAS § 4.8.6. (Maximum cross slope of ramp.) The cross slope of the
10
             ramp is greater than two percent (2%). Plaintiff, who uses a wheelchair, has
11
12           difficulty with her mobility device on slopes that are not compliant ramps.
13
14
             VIOLATION of 2010 CBC § 1133B.5.4; 2010 ADAS § 405.7; 1991 ADAS
15
16           § 4.8.4. (Level ramp landings.) There is no compliant ramp with level ramp
17           landings at the top and bottom. Plaintiff requires level ramp landings at the
18
             top and bottom of each ramp to safely navigate her wheelchair.
19
20
21           VIOLATION of 2010 CBC § 1133B.5.4; 2010 ADAS § 405.7.2; 1991
22
             ADAS § 4.8.4(1). (Width of ramp landings.) There is no compliant ramp
23
24           with ramp landings that are at least as wide as the ramp run leading to them.
25
             Plaintiff requires ample space to safely navigate her wheelchair on the ramp
26
             landings.
27
28
                                          17
                                       COMPLAINT
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 1
 2
 3
 4           VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2).

 5           (Minimum landing width and length for top ramp landings.) There is no
 6
             compliant ramp with a top ramp landing that is sixty inches (60") wide and
 7
 8           sixty inches (60") long as required. Plaintiff requires ample space to navigate
 9           her wheelchair on ramp landings.
10
11
12           VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for
13           bottom ramp landings.) There is no compliant ramp with a bottom ramp
14
             landing that is seventy-two inches (72") long as required. Plaintiff requires
15
16           ample space to navigate her wheelchair on ramp landings.
17
18
             VIOLATION of 2010 CBC § 1133B.5.4.6; 1991 ADAS § 4.8.4(3).
19
20           (Minimum landing size for change of direction in ramp.) The change of
21           direction in the ramp does not have a minimum landing size of 60” x 60”.
22
23
24           VIOLATION of 2010 CBC § 1127B.5.1; 2010 ADAS § 406.1; 1991 ADAS
25
             § 4.7.1. (Curb ramp.) The accessible route of travel crosses a curb, but there
26
             is not a compliant curb ramp. Plaintiff requires a curb ramp to safely
27
28
                                          18
                                       COMPLAINT
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 1           navigate her wheelchair.
 2
 3
 4           VIOLATION of 2010 CBC § 1133B.5.4.9. (Ramp curb.) Required ramps
 5
             shall have a curb at least 2 inches high, or a wheel guide rail 2 to 4 inches
 6
             high on each side of the ramp landing that has a vertical drop exceeding 4
 7
 8           inches and that is not bounded by a wall or fence. The ramp does not have a
 9
             curb at least 2 inches high, or an appropriate wheel guide rail.
10
11
12           VIOLATION of 2010 CBC Section 1118B.1; ADA 4.2.1. (Lack of clear
13
             floor space). The floor space lacked clear width of thirty-two (32) inches at
14
15           multiple points and thirty-six (36) inches continuously, as is required. This is
16
             true of product displays, areas around the counter, and interior paths. Plaintiff
17
             cannot get around inside the business, because Plaintiff is blocked by product
18
19           displays.
20
21
22           VIOLATION of 2010 CBC § 1122B.5;1991 ADAS § 7.2; 2010 ADAS §
23           904. (Transaction counters.) There is no lowered counter that is free and clear
24
             of clutter for disabled persons whose line of sight is lower. There was no
25
26           lowered, thirty-six (36) inches or less, transaction counter for use by persons
27           who cannot see high surfaces because of their disability. Without a lowered
28
                                           19
                                        COMPLAINT
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 1            transaction counter, it is difficult for Plaintiff to use the counter to conduct
 2
              business at the Property.
 3
 4            VIOLATION of 2010 CBC § 1133B.1.1.1.3; 2010 ADAS § 302.2. (Carpet.)

 5            Carpets and mats must be securely attached to a stable surface. Carpeting
 6
              must be securely attached so that it does not shift or buckle against wheeled
 7
 8            traffic. The carpet and/or mat inside the business is not secure and can cause
 9            rolling and buckling. Rolling or buckling occurs when carpet is not properly
10
              secured and makes wheelchair maneuvering very difficult. It also creates a
11
12            tripping hazard for those using walkers and canes.
13
14
              21.    Plaintiff personally encountered the foregoing barriers, conditions,
15
16     and/or violations.
17            22.    These barriers, conditions, and/or violations denied Plaintiff full and
18
       equal access, and caused her difficulty, humiliation, and/or frustration.
19
20            23.    The barriers, conditions, and/or violations existed during each of
21     Plaintiff’s visits in 2020.
22
              24.    Defendants knew that the foregoing architectural barriers prevented
23
24     access. Plaintiff will prove that Defendants had actual knowledge that the
25
       architectural barriers prevented access, and that the noncompliance with the ADA
26
       Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
27
28
                                             20
                                          COMPLAINT
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 1     Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
 2
       was intentional.
 3
 4            25.    Plaintiff intends and plans to visit the Property again soon. Currently,

 5     Plaintiff is reasonably deterred from returning to Defendants’ public
 6
       accommodation facilities because of the knowledge of barriers to equal access,
 7
 8     relating to Plaintiff’s disabilities, that continue to exist at the Property.
 9            26.    Defendants have failed to maintain in working and useable condition
10
       those features necessary to provide ready access to persons with disabilities.
11
12            27.    Defendants have the financial resources (i.e., financial ability) to
13     remove these barriers without much expense or difficulty in order to make the
14
       Property more accessible to their mobility impaired customers (i.e., disabled
15
16     persons). The removal of these barriers is readily achievable. The United States
17     Department of Justice has determined that removal of these types of barriers is
18
       readily achievable.
19
20            28.    Defendants refuse to remove these barriers.
21
              29.    On information and belief, Plaintiff alleges that Defendants’ failure to
22
       remove these barriers was/is intentional, because the barriers are logical and
23
24     obvious. During all relevant times, Defendants had authority, control, and
25
       dominion over these conditions. Thus, the absence of accessible facilities was/is
26
       not a mishap; it was/is the result of intentional actions or inaction.
27
28
                                             21
                                          COMPLAINT
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 1           30.    These barriers to access are described herein without prejudice to
 2
       Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
 3
 4     agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)

 5     (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 6
       have all barriers that relate to his or her disability removed, regardless of whether
 7
 8     he or she personally encountered them).
 9                 IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
10
                     AMERICANS WITH DISABILITIES ACT OF 1990
11
12                                   (42 U.S.C. § 12101, et seq.)
13                                    (Against All Defendants)
14
             31.    Plaintiff alleges and incorporates by reference each and every
15
16     allegation contained in all prior paragraphs of this complaint.
17           32.    Title III of the ADA prohibits discrimination against any person on the
18
       basis of disability in the full and equal enjoyment of the goods, services, facilities,
19
20     privileges, advantages, or accommodations of any place of public accommodation
21
       by any person who owns, leases, or operates a place of public accommodation. 42
22
       U.S.C. § 12182(a).
23
24           33.    Defendants discriminated against Plaintiff by denying her “full and
25
       equal enjoyment” and use of the goods, services, facilities, privileges, and/or
26
       accommodations they offered during each visit, and each incident of a deterred
27
28
                                            22
                                         COMPLAINT
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 1     visit.
 2
                 34.   The acts and omissions of Defendants herein were/are in violation of
 3
 4     Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,

 5     et seq.
 6
                 35.   Pursuant to the ADA, discrimination is a “failure to make reasonable
 7
 8     modifications in policies, practices or procedures, when such modifications are
 9     necessary to afford goods, services, facilities, privileges, advantages or
10
       accommodations to individuals with disabilities, unless the entity can demonstrate
11
12     that making such modifications would fundamentally alter the nature of such goods,
13     services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
14
       12182(b)(2)(A)(ii).
15
16               36.   The ADA requires removal of architectural barriers in existing
17     facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
18
       (“discrimination includes … a failure to remove architectural barriers, and
19
20     communication barriers that are structural in nature, in existing facilities, … where
21
       such removal is readily achievable”). The term “readily achievable” is defined as
22
       “easily accomplishable and able to be carried out without much difficulty or
23
24     expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
25
       Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
26
       ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
27
28
                                            23
                                         COMPLAINT
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 1     Appendix A.
 2
             37.    If removal of any barrier is not readily achievable, a failure to make
 3
 4     goods, services, facilities, or accommodations available through alternative

 5     methods is also prohibited if the alternative methods are readily achievable. 42
 6
       U.S.C. § 12182(b)(2)(A)(v).
 7
 8           38.    Defendants can remove the architectural barriers at their facility
 9     without much difficulty or expense. Defendants violated the ADA by failing to
10
       remove the barriers because removal was readily achievable. For instance, there
11
12     are companies which can repaint parking areas for as little as $350. Defendants can
13     afford such costs, which are a fraction of what Defendants receive in (rental or
14
       business) profits in connection with such a large and expensive property.
15
16           39.    Alternatively, if it was not “readily achievable” for Defendants to
17     remove barriers at their facilities, Defendants violated the ADA by failing to make
18
       their services available through alternative methods which are readily achievable.
19
20           40.    On information and belief, Plaintiff alleges that the facility was altered
21
       after January 26, 1992, mandating compliance with accessibility requirements
22
       under the ADA.
23
24           41.    The ADA requires that facilities altered in a manner that affects or
25
       could affect their usability must be made readily accessible to individuals with
26
       disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
27
28
                                           24
                                        COMPLAINT
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 1           42.    Defendants altered the facilities at the Property in a manner that
 2
       violated the ADA, and/or failed to make the Property readily accessible to
 3
 4     physically disabled persons to the maximum extent feasible.

 5           43.    The ADA also requires reasonable modifications in policies, practices,
 6
       or procedures, when such modifications are necessary to afford goods, services,
 7
 8     facilities, privileges, advantages, or accommodations to individuals with
 9     disabilities, unless the entity can demonstrate that making such modifications
10
       would fundamentally alter the nature of such goods, services, facilities, privileges,
11
12     advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
13           44.    Defendants violated the ADA by failing to make reasonable
14
       modifications in policies, practices, or procedures at the Property when these
15
16     modifications were necessary to afford (and would not fundamentally alter the
17     nature of) the goods, services, facilities, privileges, advantages, or accommodations.
18
             45.    Plaintiff seeks a finding from this Court that Defendants violated the
19
20     ADA, so that she may pursue damages under California’s Unruh Civil Rights Act.
21           46.    Here Defendants’ failure to make sure that accessible facilities were
22
       available to, and ready to be used by, Plaintiff was/is a violation of law.
23
24           47.    Plaintiff would like to continue to frequent the Property, which is close
25
       to her home. However, she is deterred from doing so because she has been
26
       discriminated against and is aware of accessibility barriers at the Property.
27
28
                                           25
                                        COMPLAINT
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 1           48.    Among the remedies sought, Plaintiff seeks an injunction order
 2
       requiring compliance with federal and state disability access laws, and remediation
 3
 4     of the existing access violations (i.e., removal of the existing barriers) at the

 5     Property.
 6
                   V. SECOND CAUSE OF ACTION: VIOLATION OF THE
 7
 8                                UNRUH CIVIL RIGHTS ACT
 9                                   (Cal. Civ. Code §§ 51-53)
10
                                      (Against All Defendants)
11
12           49.    Plaintiff repleads and incorporates by reference, as though fully set
13     forth herein, the allegations contained in all prior paragraphs of this complaint.
14
             50.    California Civil Code § 51 states, in part: “All persons within the
15
16     jurisdictions of this state are entitled to the full and equal accommodations,
17     advantages, facilities, privileges, or services in all business establishments of every
18
       kind whatsoever.”
19
20           51.    California Civil Code § 51 also states, in part: “No business
21
       establishment of any kind whatsoever shall discriminate against any person in this
22
       state because of the disability of the person.”
23
24           52.    California Civil Code § 51(f) specifically incorporates, by reference,
25
       an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
26
             53.    The UCRA also provides that a violation of the ADA, or California
27
28
                                            26
                                         COMPLAINT
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 1     state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
 2
       see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
 3
 4     1994).

 5            54.    Defendants’ above-mentioned acts and omissions have violated the
 6
       UCRA by denying Plaintiff her rights to full and equal use of the accommodations,
 7
 8     advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
 9     disability.
10
              55.    Defendants’ above-mentioned acts and omissions have also violated
11
12     the UCRA by denying Plaintiff her rights to equal access pursuant to the ADA; and,
13     thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
14
              56.    Because Defendants’ violation of the UCRA resulted in difficulty,
15
16     discomfort, and/or embarrassment for Plaintiff, Defendants are each also
17     responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
18
       //
19
20     //
21
       //
22
       //
23
24     //
25
       //
26
       //
27
28
                                            27
                                         COMPLAINT
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 1           57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
 2
       She seeks actual damages, and statutory minimum damages of four thousand
 3
 4     dollars ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied

 5     full and equal access).
 6
                                      PRAYER FOR RELIEF
 7
 8           WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
 9           1. For injunctive relief compelling Defendants to comply with the
10
                   Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
11
12                 Plaintiff is not invoking section 55 of the California Civil Code and is not
13                 seeking injunctive relief under the Disabled Persons Act.
14
             2. Damages under the Unruh Civil Rights Act, which provides for actual
15
16                 damages and statutory minimum damages of $4,000 per each offense.
17           3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
18
                   to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
19
20                                        JURY DEMAND
21
             Plaintiff demands a trial by jury on all issues so triable.
22
23
24
       Dated: January 22, 2021            THE LAW OFFICE OF HAKIMI & SHAHRIARI
25
                                          By:   /s/ Peter Shahriari
26                                              PETER SHAHRIARI, ESQ.
27                                              Attorney for Plaintiff LaSandra Price
28
                                             28
                                          COMPLAINT
